                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 3:21-CR-63
        v.                                             )       JUDGES VARLAN/POPLIN
                                                       )
 RONALD J. SPELLER                                     )


                                 NOTICE OF FACTUAL BASIS

        The United States of America, by the United States Attorney for the Eastern District of

 Tennessee, hereby presents the following facts, which satisfy the offense elements in support of

 the guilt and conviction of the defendant. These are facts submitted for the purpose of the

 defendant’s guilty plea, and they do not necessarily constitute all of the facts in this case. Other

 facts may be relevant to sentencing. The United States retains the right to present additional facts

 to the Court to ensure a fair and appropriate sentence in this case.

        On or about April 9, 2021, officers with the Knoxville Police Department (KPD)

 responded to a Robbery of a Business call at a Fort Sill National Bank (FSNB) inside the

 Walmart located at 3051 Kinzel Way in Knoxville, Tennessee. After arriving at the scene, the

 officers interviewed the victim-teller. The teller provided a description of the robber and stated

 that the robber handed her an intimidating note indicating something to the effect of “this is a

 robbery, please do not sound the alarm, I have a gun.” The teller further stated that she handed

 the bank robber $1,505 in US currency, and the robber left the Walmart towards the grocery side

 exit with the funds. The funds were insured by the FDIC.

        Agents with the Federal Bureau of Investigation (FBI) Knoxville adopted this

 investigation and received the surveillance footage of the bank robbery from Walmart’s loss

 prevention employees. FBI Knoxville released surveillance photos of the robber to the media in




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 an effort to identify the suspect. On or about April 12, 2021, FBI received multiple tips

 explaining that Ronald J. Speller, the defendant, is the individual in the surveillance photos. Two

 of the tips came from individuals who explained that Speller was currently living at the Salvation

 Army of Knoxville. One source stated that Speller had been recently flashing a large amount of

 cash while at the shelter. Law enforcement was able to determine that Speller was on federal

 supervised release for a 2009 Bank Robbery conviction out of the Eastern District of Tennessee.

 FBI contacted Speller’s US Probation Officer and provided the officer with copies of the

 surveillance photos from the robbery. Based on their investigation, FBI was able to identify

 Speller as the suspect who committee the bank robbery.

        On or about April 12, 2021, KPD officers in the vicinity of the Salvation Army of

 Knoxville were conducting other tasks when they were approached by multiple people in the

 shelter reporting that Speller was the bank robber and was located inside the shelter. The officers

 also spoke with FBI Task Force Officer Brandon Glover and gathered facts from Glover

 regarding the background of the case. KPD officers made contact with Speller as Speller exited

 the shelter. Speller was mirandized and consented to a custodial interview, during which he

 confessed that he committed the bank robbery on April 9th because he needed money to fund his

 drug habit.

                                    ESSENTIAL ELEMENTS

        To prevail in this case, the United States must prove beyond a reasonable doubt:

Elements as to Count One, in violation of 18 U.S.C. § 2113(a) (1) The defendant took money

from the person of another, while that money was in the care or custody of the Fort Sill National

Bank; (2) such taking was by force and violence, or intimidation; and (3) the deposits of the Fort

Sill National Bank were then insured by the FDIC.



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                                    MAXIMUM SENTENCE

 Punishment as to Count One, in violation of 18 U.S.C. § 2113(a) –The statutory maximum

 penalty is a term of imprisonment of up to 20 years, a term of supervised release of up to 3 years,

 a fine of up to $250,000, restitution, and a $100 special assessment.

        Respectfully submitted this 2nd day of May, 2022.



                                                      FRANCIS M. HAMILTON III
                                                      UNITED STATES ATTORNEY


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